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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION


ANDREA SHERWOOD,

        Plaintiff,

v.                                                              CASE NO: 5:22-cv-419-JSM-PRL

CELEBRITY’S MANAGEMENT COMPANY LLC,
FREDERICK JACOBS AND TAJA JACOBS,

      Defendant.
____________________________________/


                                  FLSA SCHEDULING ORDER

        Pursuant to Fed. R. Civ. P. 16, the Court finds it necessary to implement a schedule tailored

to meet the particular circumstances of this case which is based on the Fair Labor Standard Act

(FLSA). Therefore, consistent with the just, speedy and inexpensive administration of justice (Fed.

R. Civ. P. 1), it is

        ORDERED that the provisions of Rule 26 (a)(1) and Local Rule 3.02 concerning the initial

disclosures and filing of a case management report are hereby waived. Instead, the parties shall

comply with the following schedule:

        1.       No later than twenty (20) days from the date of this Order, Plaintiff(s) shall answer

the Court’s Interrogatories (attached to this Order) under oath or penalty of perjury, serve a copy

on Defendant(s), and file the answers with the Court entitled AAnswers to Court’s Interrogatories.

        2.       No later than twenty (20) days after Plaintiff(s) file(s) Answers to the Court’s

Interrogatories, Defendant(s) shall:

                 A.     Serve on Plaintiff(s) and file with the Court a Verified Summary of all hours

worked by Plaintiff(s) during each relevant pay period, the rate of pay and wages paid, including
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overtime pay, if any; and

                B.      Serve on Plaintiff(s) (but not file) a copy of all time sheets and payroll

records that support or relate to the time periods in the Verified Summary.

        3.      No later than thirty (30) days after Defendant(s) file(s) the Verified Summary,

counsel for Plaintiff(s) and Defendant(s) shall meet and confer in person in a good faith effort to

settle all pending issues, including attorney’s fees and costs.1 No agreement, including one as to

attorney's fees and costs, shall be binding until approved by the Court. Counsel shall have

full authority to settle, and shall set aside sufficient time for a thorough, detailed, and meaningful

conference that is calculated to fully resolve the case by agreement.

        4.      No later than ten (10) days after the settlement conference, counsel shall jointly file

a Report Regarding Settlement that notifies the Court whether:           (1) the parties have settled the

case; (2) the parties have not settled but wish to continue settlement discussions for a specific

period of time; (3) the parties wish to engage in a formal mediation conference before a specific

mediator on or before a specific date; (4) the parties have exhausted all settlement efforts and will

file immediately a Case Management Report signed by counsel for all parties.

        5.      If the parties are able to agree on settlement in this case, they are directed to submit

the terms of the resolution of this case within fourteen (14) days from the date of the Notice of

Settlement.

        6.      The parties may consent to the conduct of all further proceedings in this case by the

United States Magistrate Judge by filing Form AO 85 Notice, Consent, and Reference of a Civil

Action to a Magistrate Judge using the event Consent to Jurisdiction of US Magistrate Judge.

        7.      Until further order of this Court, all discovery in this case is STAYED, except as


        1
         In the case of an individual party who is not represented by counsel, the individual shall comply
with the provisions of this Order.
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provided in this Order.

       8.      Either party, for good cause shown, may move to alter this schedule should

circumstances warrant.

       DONE and ORDERED in Tampa, Florida, this 10th day of January, 2023.




Copies furnished to:
Counsel/Parties of Record

Attachments:
Court’s Interrogatories to Plaintiff(s)
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           COURT’S INTERROGATORIES TO PLAINTIFF(S)

1. During what period of time were you employed by the Defendant(s)?




2. Who was your immediate supervisor?




3. Did you have a regularly scheduled work period? If so, specify.




4. What was your title or position? Briefly describe your job duties.




5. What was your regular rate of pay?
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6. Provide an accounting of your claim, including:

   (a) dates




   (b) regular hours worked




   (c) over-time hours worked




   (d) pay received versus pay claimed




   (e) total amount claimed
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7. When did you (or our attorney) first complain to your employer about alleged violations
   of the FLSA?




8. Was this complaint written or oral? (If a written complaint, please attach a copy).




9. What was your employer’s response? (If a written response, please attach a copy).




                                         ______________________________________
                                         (Plaintiff’s Signature)

STATE OF FLORIDA
COUNTY OF __________________

    BEFORE ME, the undersigned authority, on this day, personally appeared
________________________________, who being first duly sworn, deposes and says that
he/she has read the foregoing Answers to Interrogatories, knows the contents of same, and
to the best of his/her knowledge and belief, the same are true and correct.

   SWORN TO AND SUBSCRIBED before me on this _______ day of____________,
20_____.

                                         NOTARY PUBLIC


                                         ____________________________________
                                         Signature of Person Taking Acknowledgment
Notary Stamp                             Print Name:
                                         Title: Notary Public
                                         Serial No. (if any):
                                         Commission Expires:
